
		OSCN Found Document:Revocation of Credentials of Certified and Registered Courtroom Interpreters

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				Revocation of Credentials of Certified and Registered Courtroom Interpreters2025 OK 31Decided: 05/12/2025THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2025 OK 31, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.



ORDER

This Court previously suspended the credentials of several Certified and Registered Courtroom Interpreters for failure to comply with the continuing education requirements for calendar year 2024 and/or with the annual credential renewal requirements for 2025. See 2025 OK 18 (SCAD 2025-14, dated March 10, 2025).

Under the applicable rules, a suspended certificate which has not been reinstated on or before April 15 shall be administratively revoked on that date. 20 O.S., Chapter 23, App. II, Rules 18(f) and 20(g). The Oklahoma Board of Examiners of Certified Courtroom Interpreters has advised that the interpreters listed in attached Exhibit A have not reinstated their credential as required by the rules, and the Board has recommended to this Court the revocation of the credential of each of these interpreters.

This Court hereby approves the Board's recommendation of revocation of each of the Courtroom Interpreters named below, and pursuant to the applicable rules such revocation shall be effective May 12, 2025.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 12th day of MAY, 2025.


/S/ CHIEF JUSTICE


ALL JUSTICES CONCUR.


&nbsp;


&nbsp;

Exhibit A



	
		
			
			Name
			
			Reason
		
		
			Cynthia Armas
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
		
			Zonia Armstrong
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
		
			Eduardo Caballero
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
		
			Juan Escobar
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
		
			Stephanie Faasch
			2024 Continuing Education and Form, 2025 Renewal Fees and Form
		
		
			Erica Garcia
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
		
			Ashlynn Kindschy
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
		
			Craig Klein
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
		
			Maria Martinez
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
		
			Maria Rodriguez
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
		
			Aric Soule
			2024 Continuing Education and Form; 2025 Renewal Fees and Form
		
	



&nbsp;





	
		
			
				
					
			
				
				
								
					The Oklahoma Supreme Court
					2100 N. Lincoln Blvd., Suite 1
					Oklahoma City, OK 73105
					
										
				
				
			
		
	
	